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                                                U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    September 14, 2021


BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:    United States v. Michael Avenatti, 19 Cr. 374 (JMF)

Dear Judge Furman:

        The Government respectfully submits the attached proposed scheduling order on behalf of
the parties, pursuant to the Court’s September 9, 2021 Order (Dkt. No. 148). The parties have
adjusted the pretrial deadlines previously set by the Court, as well as their jointly agreed upon
schedule for mutual pretrial disclosures, to correspond to the January 10, 2022 trial date.


                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    United States Attorney

                                            By:
                                                    Matthew D. Podolsky
                                                    Robert B. Sobelman
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cc:    Robert M. Baum, Esq. (by ECF)
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       Tamara L. Giwa, Esq. (by ECF)
